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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF ARKANSAS
United States of America                                                         Plaintiff

v.                                  Case No.: 4:17−cr−00293−BSM

Timothy J Ferguson                                                             Defendant
(Other Custody)




                                NOTICE OF HEARING


      PLEASE take notice that a Sentencing has been set in this case for March 30, 2022,
at 01:00 PM before Judge Brian S. Miller in Little Rock Courtroom # 2D in the Richard
Sheppard Arnold United States Courthouse located at 600 West Capitol Avenue, Little
Rock, Arkansas.
      A writ must be prepared and submitted to the United States Marshal in order to
transport defendant to the proceeding.


DATE: February 4, 2022                           AT THE DIRECTION OF THE COURT
                                                        TAMMY H. DOWNS, CLERK


                                                  By: Laura J. Bichlmeier, Deputy Clerk




Electronic copy provided to:
U.S. Marshals Service, Eastern District of Arkansas
U.S. Probation Office, Eastern District of Arkansas
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